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8                               IN THE UNITED STATES DISTRICT COURT

9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                       )    Case No.: 1:15CR00209 LJO-SKO
11                                                   )
                                                     )    STIPULATION AND ORDER SETTING
                                Plaintiff,           )
12                                                        ROBIN LEE’S CONDITIONS OF
                                                     )    RELEASE ON HER OWN
                           v.                        )
13                                                   )
                                                          RECOGNIZANCE
     ROBIN LEE,                                      )
14                                                   )
                                Defendant.           )
15                                                   )
                                                     )
                                                     )
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     TO THE HONORABLE COURT:
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            WHEREAS, Defendant Robin Lee is currently detained per this Court’s Order dated April 21,
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     2016 (Dkt. No. 78); and
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            WHEREAS, while under the custody of the U.S. Marshals service, the Defendant is being
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     held at the Kern County Jail during the pendency of this case;
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1           WHEREAS, on April 28, 2016, the defendant gave birth to a 27-week premature 2.7 pound

2    baby boy who is currently hospitalized in the Kern Medical Center, where he is expected to remain

3    for the foreseeable future;

4           WHEREAS, the Government recognizes the unique circumstances the defendant’s health

5    presents and the importance that she be able to attend to her premature and infirm newborn baby;

6           IT IS HEREBY STIPULATED that the Defendant should be released FORTHWITH pursuant

7    to the following conditions:

8           1.     Defendant Robin Lee shall report to and comply with the rules and regulations of the

9           Pretrial Services Agency;
10          2.     Defendant shall report in person to the Pretrial Services Agency on the first working
11          day following your release from custody;
12          3.     Defendant is released to the third-party custody of Angela Allen;
13          4.     Defendant is to reside at a location approved by the pretrial services officer and not
14          move or absent herself from this residence for more than 24 hours without the prior approval
15          of the pretrial services officer;
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            5.     Defendant shall cooperate in the collection of a DNA sample;
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            6.     Defendant’s travel is restricted to Eastern District of California unless otherwise
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            approved in advance by the pretrial services officer;
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            7.     Defendant shall not associate or have any contact with codefendants: Ricardo Cruz
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            Gomez JR. Marquiz Demitric Tucker, Lebrea Leshawn Davis, and Nina Johnson, unless in the
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            presence of counsel or otherwise approved in advance by the pretrial services officer;
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            8.     Defendant shall report any contact with law enforcement to her pretrial services officer
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            within 24 hours;
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1          9.       Defendant shall participate in the following location monitoring program component

2          and abide by all the requirements of the program, which will include having a location

3          monitoring unit installed in your residence and a radio frequency transmitter device attached

4          to your person. Defendant shall comply with all instructions for the use and operation of said

5          devices as given to you by the Pretrial Services Agency and employees of the monitoring

6          company. Defendant shall pay all or part of the costs of the program based upon your ability

7          to pay, as determined by the pretrial services officer;

8          10.   Defendant is subject to a curfew. Defendant shall remain inside your residence every

9          day from 8:00 p.m. to 6:00 a.m., or as adjusted by the pretrial services officer for medical,
10         religious services, employment or court-ordered obligations.
11   Dated: May 4, 2016
12                                                /s/ Virna L. Santos
                                                  VIRNA L. SANTOS
13                                                Attorney for Defendant Robin Lee
14
     Dated: May 4, 2016                           /s/ Brian K. Delaney
15                                                BENJAMIN B. WAGNER
                                                  United States Attorney
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                                                  BRIAN K. DELANEY
                                                  Assistant U.S. Attorney
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                                                  On Behalf of the United States of America
18
                                                   ORDER
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21         IT IS SO ORDERED.

22         Dated:      May 5, 2016                               /s/ Sheila K. Oberto
                                                       UNITED STATES MAGISTRATE JUDGE
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